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                                                                                             EFILED LUCAS COUNTY
                                                                                             11/02/2021 05:52 PM
                                                                                             COMMON PLEAS COURT
                                                                                             BERNIE QUILTER, CLER)
                                       IN THE COURT OF COMMON PLEAS                          efile id 83129
                                               LUCAS, COUNTY
                                                                                       G-4801-CI-0
         PATRICK RESETAR                                              CASE No,                    202103462-000
         728 Lincoln Street                                                                     Judge
         Amherst, Ohio 44001                                          JUDGE:           LINDSAY D. NAVARRE

                                         Plaintiff,

                    v.                                                COMPLAINT FOR DAMAGES
                                                                      AND REINSTATEMENT
         PROFESSIONAL SKILLS INSTITUTE, LLC
         c/o CT Corporation System                                    (Jury demand endorsed herein)
         4400 Easton Commons Way, Suite 125
         Columbus, Ohio 43219

                                         Defendant.

                 Plaintiff, Patrick Resetar, by and through undersigned counsel, as his Complaint against

        Defendant, states and avers the following:

                                                PARTIES & VENUE

        1.     Resetar is a resident of the city of Amherst, Lorain County, state of Ohio.

        2.     Defendant Professional Skills Institute, LLC ("PSI") is a corporation with its principal place

               of business located at 1505 Holland Road, Maumee, Ohio 43537.

        3.     PSI is an "employer" within the meaning of O.R.C. § 4113.51(B).

        4.     All material events alleged in this Complaint occurred in Lucas County.

        5.     Personal jurisdiction is proper over Defendant pursuant to Ohio R.0 § 2307.382 (A)(1).

        6.     Venue is proper pursuant to Civ. R. 3(C)(3) & (6).

        7.     This Court is a court of general jurisdiction over the claims presented herein, including all

               subject matters of this Complaint.

                                                          FACTS

        8.     Resetar is a former employee of PSI.

        9. .   On or about January 2021, Resetar began working for PSI a Director of Admissions.

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    The Employee's Attorney.T                                                                                     414'4-1M
                                                                                                         r4F1.3



                                                      EXHIBIT A
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    10.     On or about May 4, 2021, Resetar was promoted to Director of Operations.

    11.     PSI admits and trains students for entry-level careers as truck drivers and medical staff.   •

    12.     In May 2021, PSI was in the process of upgrading its computer systems with a vendor called

            Campus Cloud.

    13.     As the Director of Admissions, Re'setar's job duties required him to work with prospective

            students through the admissions process.

    14.     In or around May 2021, Resetar noticed that Campus Cloud did not have a system in place to

            keep track of students who requested placement on the Federal Do Not Call List. ("Federal

            Compliance Issues")

    15.     Resetar believed that a system to keep track of students who requested placement. on the

            Federal Do Not Call List was necessary for PSI's compliance with federal lending regulations.

    16.     15 U.S.C. §§ 6151-6155 authorizes the Federal Trade Commission to implement and enforce

            the Do Not Call Registry.

    17.     In or around late April 2021, Resetar disclosed Campus Cloud's Federal Compliance Issues

           • to Joe Fortunato, Vice President of Admissions, Ryan Snyder, Director of Financial Aid, and

            Kate Rodgers, Assistant Vice President of Admissions. ("Compliance Complaint")

    18.     During the Compliance Complaint Restar told Fortunato, Snyder, and Rodgers that the Federal

       i    Compliance issues were a crime and a felony. •

    19.     In or around late April 2021, Resetar submitted written reports regarding Campus Cloud's

            Federal. Compliance Issues to Fortunato, Snyder, and Rodgers. ("Compliance Complaint

            Emails")

    20.     Fortunato told Resetar that PSI would look into the Federal Compliance Issues and would fix

           them.




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     21. On or about May 5, 2021, Resetar attended a meeting between PSI management and Campus

            Cloud.

     22.    On or about May 5, 2021, Resetar asked if the Federal Compliance Issues had been resolved.

    23. Fortunato told Resetar "we'll look into it," and abruptly ended the meeting.

    24.     Within hours of the May 5, 2021 meeting, Fortunato demoted Resetar back down to Director

           of Admissions.

    25. Fortunato told Resetar the demotion was for raising the Federal Compliance Issues in the

           meeting with Campus Cloud.

    26. On or about May 6, 2021, Fortunato terminated Resetar's employment with PSI.

    27. Fortunato told Resetar the termination was based on Resetar raising the Federal Compliance

           Issues in the meeting with Campus Cloud.

    28. Resetar believed that the Federal Compliance Issues were a federal crime and a felony.

    29. PST's stated reason for demoting Resetar was retaliation for raising Federal Compliance Issues.

    30. PSI's demotion of Resetar for raising Federal Compliance Issues was an adverse action.

    31'. PSI's dem'otion of Resetar for raising Federal Compliance Issues was an adverse employment

           action.

    32. PSI's stated reason for terminating Resetar was retaliation for raising Federal Compliance

           Issues.

    33. PSI's termination of Resetar for raising Federal Compliance Issues was an adverse action.

    34. PSI's termination of Resetar for raising Federal Compliance Issues was an adverse

           employment action.

    35.    As a result of PSI's actions, Resetar suffered and will continue to suffer monetary and

           emotional damages.




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                COUNT I: RETALIATION IN VIOLATION OF OHIO WHISTLEBLOWER
                                   STATUTE R.C. § 4113.52

    36.      Resetar restates each and every prior paragraph of this Complaint,. as if it were fully restated

             herein.

    37.      During his employmenl, Resetar made verbal reports regarding PSI's Federal Compliance

             Issues.

    38.      Resetar reported that PSI's conduct violated The Do-Not-Call Implementation Act.

    39.      Resetar reasonably believed that PSI's failure to comply with the federal regulations of The

            Do-Not-Call Implementation Act was a felonious criminal offense.

    40.      Resetar made both oral and written complaints that he believed PSI's conduct violated federal

             law. •

    41.      Resetar made both oral and written complaints about the Federal Compliance Issues.

    42.     PSI retaliated.against Resetar by demoting him based on his complaints regarding the Federal

            Compliance Issues.

    43.      PSI retaliated against Resetar by terminating his employment based on his complaints

            regarding the Federal Compliance Issues.

    44.      PSI's retaliatory termination of Resetar was in violation of R.C. § 4113.52, et seq.

    45.     As a direct and proximate cause of PSI's conduct, Resetar suffered and will continue to suffer

            damages.

            COUNT II: WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

    46. Resetar restates each and every prior paragraph of this Complaint, as if it were fully restated

          herein.

    47. A clear public policy exists and is manifested in Ohio statutes and/or administrative regulations,

          or in the common law, against terminating an/or retaliating against an employee because he

          engages in protected activity under Ohio law.                                                    ti
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The Employee's Attorney.T
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          48. In Ohio, a strong public policy exists regulating telemarketers attempting to solicit Ohio

               consumers. This public policy is embodied in R.C. § 4719.01, also known as the Telephone

               Solicitation Sales Act.

          49. A clear public policy exists and is manifested in Ohio statutes, and/or administrative regulations,

               or in the common law, to protect Ohio consumers listed on the federal Do-Not-Call Registry.

          50. Resetar, in good faith, reported violations of law and rules regulating PSI's compliance with the

               federal Do-Not-Call list as enforced by the Federal Trade Commission and the Consumer

               Protection Section of the Ohio Attorney General's Office.

          51. PSI's termination of Resetar jeopardizes these public policies.

          52. PSI's termination of Resetar was motivated by conduct related to these public policies.

          53. PSI had no legitimate business justification for terminating Resetar.

          54. As a direct and proxiMate cause of PSI's wrongful conduct, Resetar suffered and will continue

               to suffer damages.

                                                 PRAYER FOR RELIEF

                       WHEREFORE, Plaintiff Patrick Resetar requests judgment against Defendant and for an

         Order:

            (a) Requiring PSI to retroactively restore Resetar to one of the positions to which he was entitled
                by virtue of his application and qualifications, and expunge his personnel file of all negative
                documentation;

            (b) Awarding against PSI for compensatory and monetary damages to compensate Resetar for his
                back wages in an amount in excess of $25,000 per claim to be proven at trial;


            (c) Awarding punitive damages against Defendant in an amount in excess of $25,000;


            (d) Awarding reasonable attorneys' fees and non-taxable costs for Resetar's claims as allowable
                under law;

            (e) Awarding the taxable costs of this action; and


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              (f) Awarding such other and further relief that this Court deems necessary and proper.




                                                                Respectfully submitted,


                                                                /s/ Fred M Bean
                                                                Fred M. Bean (0086756)
                                                                Taurean J. Shattuck (0097364)
                                                                David E. Byrnes (0086975)
                                                                THE SPITZ LAW FIRM, LLC
                                                                25825 Science Park Drive, Suite 200
                                                                Beachwood, OH 44122
                                                                Phone: (216) 29.1-4744
                                                                Fax: (216) 291-5744
                                                                Email: Fred. Bean@spitzlawfirm.com
                                                                        Taurean.Shattuck@spitzlawfirm.com
                                                                        David.Byrnes@spitzlawfirm.com

                                                                Attorneys For Plaintiff Patrick Resetar



                                                    JURY DEMAND
                   Plaintiff Patrick Resetar demands a trial by jury by the maximum number of jurors permitted.



                                                                /s/ Fred M Bean
                                                                Fred M. Bean (0086756)
                                                                Taurean J. Shattuck (0097364)
                                                                David E. Byrnes (0086975)




• •_      .                                                 6
       The Employee's Attorney.TM
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                                                                                                        EFILED LUCAS COUNTY
                              LUCAS COUNTY COMMON PLEAS COURT
                                                                                                        11/02/2021 05:52 PM
                                      CASE DESIGNATION
                                                                                                        COMMON PLEAS COURT
 TO:           Bernie Quilter, Clerk of Courts                    CASE NO.                              BERNIE QUILTER, CLERK
                                                                                                        afi1P id 83129
                                                                  JUDGE              G-4801-CI-0202103462-000
 The following type of case is being filed:                                                  'Judge
        P essional Malpractice                                                       LINDSAY D. NAVARRE
               Legal Malpractice (L)
               Medical Malpractice (M)
          ro uct Liability (B)
        Other Tort (C)                                            By submitting the complaint, with the
••••••••••••

                                                                  signature of the Attorney, the Attorney
               Workers' Compensation                              affirms that the name of person with
               State Funded (D)                                   settlement authority and his/her direct
               Self Insured (K)                                   phone number will be provided upon
                                                                  request to a party or counsel .in this matter
               Administrative Appeal (F)
                                                                ,_other Civil
•••••••IT...
               Commercial Docket                                   I Consumer Fraud (N       Forfeiture
                                                                El Appropriation (P) n Court Ordered
                                                                     Other Civil (H)    • FiCertificate of Title
                                                                     Copyright Infringement (W)

               This case was previously dismissed pursuant to CIVIL RULE 41 and is to be assigned to
               Judge                            , the original Judge at the time of dismissal. The
               previously filed case number was CI

               This case is a civil forfeiture case with a criminal case currently pending. The periding case number
               is                                , assigned to Judge

               This case is a Declaratory Judgment case with a personal injury or related case currently pending.
               The pending case number. is                                •      ,.assigned to Judge

        This case.is to be reviewed for consolidation in accordance with Local Rule 5.02 as a companion or
related case. This designation sheet will be sent by the Clerk of Courts to the newly assigned Judge for review
with the Judge who has the companion or related case with the lowest case number. The Judge who would
receive the consolidated case may accept or deny consolidation of the case. Both Judges will sign this
designation sheet to indicate the action taken. If the Judge with the lowest case number agrees to accept, the
reassignment of the case by the Administration Judge shall be processed. If there is a disagreement between the
Judges regarding consolidation, the 'matter may be referred to the Administrative Judge.

               Related/companion case number                                  Assigned Judge


               Approve/Deny                              Date       Approve/Deny                          Date

               Attorney       Fred M. Bean
               Address        25825 Science Park Dr, Ste 200
                              Beachwood, OH 44122
               Telephone      (216) 291-4744
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                                                                              11/02/2021 05:52 PM
                                                                              COMMON PLEAS COURT
                                                                              BERNIE QUILTER, CLEM,
                                                                              efile id 83129


                     WRITTEN INSTRUCTIONS FOR SERVICE

                                             CASE NUMBER.1               G-4801-CI-0202103462-000
                                                                                  Judge
                                             JUDGE                       LINDSAY D. NAVARRE
TO:     J. BERNIE QUILTER, CLERK OF COURTS
        YOU ARE INSTRUCTED TO MAKE (CHECK ONE)


                CERTIFIED MAIL
               0 CERTIFIED RESTRICTED
               0 ORDINARY MAIL
               [PERSONAL/RESIDENCE SERVICE THROUGH THE SHERIFF
                UPON THE FOLLOWING:


                NAME                                         ADDRESS
PROFESSIONAL SKILLS INSTITUTE, LLC           c/o CT Corporation System

                                             4400 Easton Commons Way, Suite 125
                                             Columbus, Ohio 43219




SPECIAL INSTRUCTION:



Please Serve Timestamped Complaint and Summons




ATTORNEY NAME
Fred M. Bean
                   Case: 3:21-cv-02159-JJH Doc #: 1-1 Filed: 11/12/21 9 of 10. PageID #: 14

                                       LUCAS COUNTY COMMON PLEAS COURT
                                                    CORNER ADAMS & ERIE STREETS
                                                        TOLEDO, OHIO 43604
                                                          SUMMONS
                                                        CIVIL ACTION
                                          FILING TYPE:                  OTHER CIVIL



          PROFESSIONAL SKILLS INSTITUTE LLC                              G-4801-CI-0202103462-000 •
          C/O CT CORPORATION SYSTEM                                      JUDGE: LINDSAY D NAVARRE
          4400 EASTON COMMONS WAY STE 125
          COLUMBUS, OH 43219

                 You have the right to seek legal counsel. If you cannot afford a lawyer, you may contact the Legal
         Services of Northwest Ohio. If you do not qualify for services by the Legal Services of Northwest Ohio and do
         not know an attorney you may contact the Toledo Bar Association's Lawyer Referral Service (419) 242-2000.


                  You have been named as a defendant in a Complaint filed in this Court by the plaintiff named below. A
         copy of the Complaint is attached to this Summons.

                 You are hereby summoned and required to serve upon the plaintiffs attorney, or upon the plaintiff, if he
         has no attorney of record, a copy of an answer to the complaint, within twenty-eight (28) days after you receive
         this Summons, exclusive of the of the day of service or to an amended complaint within the remaining
         response time to the complaint or 14 days, whichever period may be longer. Your answer must be filed with the
         Clerk of Court of Common Pleas within three (3) days after the service of a copy of the Answer on the plaintiffs
         attorney.

               If you fail to serve and file your Answer, judgment by default will be rendered against you for the relief
         demanded in the Complaint.

          PLAINTIFF (S)                                               ATTORNEY FOR PLAINTIFF(S)
          PATRICK RESETAR                                             FRED M BEAN
          728 LINCOLN STREET                                          THE WATERTOWER PLAZA
          AMHERST, OH 44001                                           25200 CHAGRIN BLVD STE 200
                                                                      BEACHWOOD, OH 44122

                                                                         BERNIE QUILTER
                                                                         CLERK OF COURTS
         Date: November 04, 2021

                                                                           EtlYkze9ea                            Clerk




G-4801-CI-0202103462-000   PROFESSIONAL SKILLS INSTITUTE LLC Generated: November 04, 2021
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                                  IF YOU DO NOT HIRE AN ATTORNEY
                                              PLEASE READ & RESPOND
                                                                 (mark one & respond)




          0       I request to be notified by email                                     I request to be notified by regular mail
                                                                                        (Clerk will forward to Court for approval)

          My email address                                                    My mailing address



          Send email to: Lwatt@co.lucas.oh.us                                 Return this Form with your address to:
          Subject:       G-4801-CI-0202103462-000                             Clerk of Court
                         PROFESSIONAL SKILLS                                  Lucas County Common Pleas Court
          INSTITUTE LLC                                                       700 Adams
          Message:       Your email address                                   Toledo, OH 43604




                             If you do NOT hire an attorney & fail to respond
                        you will NOT receive notification of events related to this case
                                              Case Information is available Online at:
                                                     www.co.lucas.oh.us/Clerk
                                                 click on the "Dockets Online" link


          Local Rule 5.05 H. SERVICE BY CLERK'S OFFICE Once journalized, the Clerk of courts Office will transmit
          the entries to the email address submitted by the parties. Counselfor a party or Pro Se litigant representing
          themselves who do not have an email address may, by motion, request ordinary mail service of entries by the
          Clerk of Courts Office.




G-4801-C1-0202103462-000 PROFESSIONAL SKILLS INSTITUTE LLC Generated: November 04, 2021
